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 1   GERSON S. HORN (SBN 40857)
     LAW OFFICE OF GERSON S. HORN
 2   11661 San Vicente Boulevard, Suite 903
     Los Angeles, California 90049
 3   Telephone: (310) 571-3855
     Facsimile: (310) 571-3515
 4
     Attorney for Defendant
 5   HERIBERTO OLGUIN
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 7
 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )             CASE NO. 1:05 CR 00510 OWW
                                            )
12                     Plaintiff,           )
                                            )             STIPULATION REGARDING
13         vs.                              )             CONTINUANCE OF STATUS
                                            )             CONFERENCE AND ORDER
14   ELISEO GARCIA PEREZ; HERIBERTO         )
     OLGUIN; and CLAUDIA C. AVENDANO,       )
15                                          )
                       Defendants.          )             [Hon. Oliver W. Wanger]
16                                          )
     ______________________________________ )
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18
19          Plaintiff United States of America, by and through its counsel of record, the United States
20   Attorney for the Eastern District of California, and Defendants Eliseo Garcia Perez, Heriberto
21   Olguin and Claudia C. Avendano, by and through their respective counsel of record, Mark
22   Lizarraga, Gerson S. Horn, and Katherine Hart, hereby stipulate as follows:
23          1.      The Indictment in this case was filed on December 15, 2005.
24          2.      Defendants Eliseo Garcia Perez, Heriberto Olguin and Claudia C. Avendano were
25   arraigned on December 16, 2006.
26          3.      On December 16, 2005, a Status Conference was set for January 9, 2006 at
27   1:30 p.m.
28          4.      On December 28, 2005, a motion and Status Conference hearing as to Defendants

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 1   Eliseo Garcia Perez and Claudia C. Avendano set for January 9, 2006 was continued to
 2   January 13, 2006 at 9:00 a.m.
 3            5.    On January 13, 2006, a Status Conference was set for February 28, 2006.
 4            6.    On January 28, 2006, the Status Conference was continued to April 4, 2006 at
 5   9:00 a.m.
 6            7.    On April 4, 2006, the Status Conference was continued to May 22, 2006.
 7            8.    On May 18, 2006, the Status Conference was continued to June 12, 2006.
 8            9.    On June 12, 2006, the Status Conference was continued to July 17, 2006.
 9            10.   Counsel requests continuing the Status Conference until August 14, 2006 at
10   1:30 p.m. as negotiations in regard to a resolution of this matter are continuing and require the
11   additional time to complete.
12            11.   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
13   et seq., within which trial must commence:
14                  A.      The time period of July 17, 2006 to August 14, 2006 is deemed excludable
15   pursuant to 18 U.S.C. § 3161(h)(8)(A) because it results from a continuance granted by the judge
16   at the defendants’ request without government objection on the basis of the judge’s finding that the
17   ends of justice served by taking such action outweigh the best interest of the public and the
18   defendant in speedy trial.
19            12.   All defendants are joined for trial and a severance has not been sought.
20            13.   By this Stipulation, the parties jointly move to continue the Status Conference from
21   July 17, 2006 to August 14, 2006 at 1:30 p.m.
22            14.   The parties agree and stipulate that the time period for filing any notices required to
23   be filed by statute, by the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, or
24   any other rule in this matter shall be tolled pending the granting or denial of the parties’ request for
25   a continuance of the Status Conference and the setting of a new Status Conference date by the
26   Court.
27            15.   The parties agree and stipulate and request that the Court find that nothing in this
28   Stipulation and Order shall preclude a finding that other provisions of the Speedy Trial Act dictate

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 1   that additional time periods are excludable from the period within which trial must commence.
 2          IT IS SO STIPULATED.
 3
     DATED: July 15, 2006                        McGREGOR W. SCOTT
 4                                               UNITED STATES ATTORNEY
 5
                                                 By: /s/ Kevin P. Rooney
 6                                                      KEVIN P. ROONEY
                                                        Assistant United States Attorney
 7                                               Attorneys for Plaintiff UNITED STATES
 8
 9   DATED: July 15, 2006                           /s/ Mark Lizarraga
                                                        MARK LIZARRAGA
10                                                      Assistant Federal Defender
                                                 Attorney for Defendant ELISEO GARCIA PEREZ
11
12
     DATED: July 15, 2006                           /s/ Gerson S. Horn
13                                                      GERSON S. HORN
                                                 Attorney for Defendant HERIBERTO OLGUIN
14
15   DATED: July 15, 2006                           /s/ Katherine Hart
                                                        KATHERINE HART
16                                               Attorney for Defendant CLAUDIA C. AVENDANO
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 1                                             ORDER
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 3          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that:
 4          1.     The period from July 17, 2006 to August 14, 2006, inclusive, is an excludable
 5   period under 18 U.S.C. §3161; and
 6          2.     The Status Conference is continued from July 17, 2006 to August 14, 2006 at
 7   1:30 p.m.
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 9   IT IS SO ORDERED.
10   Dated: July 15, 2006                           /s/ Oliver W. Wanger
     emm0d6                                    UNITED STATES DISTRICT JUDGE
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                      STIPULATION RE: CONTINUANCE OF STATUS CONFERENCE
